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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


     In re                                                               Chapter 11

     Lordstown Motors Corp., et al.,1                                    Case No. 23-10831 (MFW)

                     Debtors.                                            (Jointly Administered)

                                                                         Obj. Deadline: Mar. 7, 2024 at 4:00 pm (ET)
                                                                         Hearing Date: Mar. 14, 2024 at 3:00 pm (ET)

                SUMMARY OF SECOND INTERIM FEE APPLICATION OF
     JEFFERIES LLC AS INVESTMENT BANKER FOR THE DEBTORS AND DEBTORS IN
    POSSESSION FOR COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
          REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD FROM
               OCTOBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

    Name of Applicant:                                         Jefferies LLC

    Authorized to Provide Professional Services to:            Debtors and Debtors in Possession

    Date of Retention:                                         July 25, 2023 effective as of June 27, 2023

    Period for which Compensation and                          October 1, 2023 – December 31, 2023
    Reimbursement is Sought:

    Amount of Compensation Sought as Actual,                   $2,200,000.002
    Reasonable and Necessary:




1
  The Debtors in these chapter 11 cases (these “Chapter 11 Cases”), along with the last four digits of their respective
taxpayer identification numbers are: Lordstown Motors Corp. (3239); Lordstown EV Corporation (2250); and
Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
2
  This amount is on account of the (i) net $2,000,000.00 M&A Transaction Fee on account of the M&A Transaction
approved pursuant to the Order (I) Authorizing and Approving the Sale of Certain of the Debtors’ Assets Free and
Clear of All Liens, Claims, Encumbrances, and Interests; (II) Authorizing the Debtors to Enter into and Perform Their
Obligations under the Asset Purchase Agreement; (III) Authorizing the Assumption and Assignment of Certain
Executory Contracts in Connection Therewith; (IV) Authorizing the Sale Transaction; and (V) Granting Related Relief
(“Sale Order”) [Docket No. 586] and (ii) October 2023 Monthly Fee (as defined below). To date, five full Monthly
Fees have been paid to Jefferies for the months of June, July, August, September and October 2023. These five
Monthly Fees are credited against the gross $3,000,000.00 M&A Transaction Fee pursuant to the Retention Order and
Engagement Agreement (both as defined below) ($3,000,000.00 – $1,000,000.00 = $2,000,000.00). Accordingly, the
net M&A Transaction Fee is $2,000,000.00.
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    Amount of Expense Reimbursement Sought as                 $22,686.073
    Actual, Reasonable and Necessary:
          This is a(n) ___ monthly X interim___final application.




3
 As noted in the Retention Application (as defined below), Jefferies received an expense advance in the amount of
$25,000.00 prior to the Petition Date. After the application of prepetition expenses, $6,463.00 remains to be applied
against the postpetition expenses set forth herein.
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                   SECOND INTERIM FEE APPLICATION OF JEFFERIES LLC
           AS INVESTMENT BANKER FOR THE DEBTORS AND DEBTORS IN POSSESSION

                                             PRIOR FEE STATEMENTS



                              REQUESTED                                   PAID                         OUTSTANDING

APPLICATION                FEES           EXPENSES               FEES           EXPENSES             FEES          EXPENSES

First                  $600,000.00         $38,459.31       $600,000.001         $38,459.31           $0.00             $0.00
Consolidated
Monthly
Fee Application
[Docket No. 702]
6/27/23-9/30/23

First Interim Fee      $600,000.00         $38,459.31        $600,000.00         $38,459.31           $0.00             $0.00
Application
[Docket No. 703]
6/27/23-9/30/23

Second                $2,200,000.00        $8,856.07        $1,800,000.00        $8,856.07        $400,000.00           $0.00
Consolidated
Monthly
Fee Application
[Docket No. 880]
10/1/23-10/31-23




       1
         The Retention Order (as defined herein) authorizes the Debtor to pay Jefferies’ monthly fees (the “Monthly Fees”)
       each month when required under the Engagement Letter (as defined below) without the need to file a prior fee
       application; provided however, that such Monthly Fees shall be subject to review and approval in any interim and
       final fee applications.


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   SECOND INTERIM FEE APPLICATION OF JEFFERIES LLC AS INVESTMENT
        BANKER FOR THE DEBTORS AND DEBTORS IN POSSESSION

                   HOURS BY PROFESSIONAL AND PROJECT CATEGORY
                            October 1, 2023 – December 31, 2023
                                             Summary of Hours by Category
                                         October 1, 2023 - December 31, 2023
Category Code #                                                                                   Hours
     1                Case Administration / General                                                       63.0
     2                Sale Process                                                                        39.0
     3                Creditor Communication                                                                -
     4                Debtor Communication                                                                  -
     5                DIP Financing                                                                         -
     6                Testimony Preparation                                                                 -
     7                Plan of Reorganization                                                               4.5
     8                Travel                                                                                -
     9                Due Diligence / Analysis                                                             1.0
    10                Business Plan                                                                         -
    11                Process Update and Case Strategy                                                    71.5
   Total                                                                                              179.0


                                           Summary of Hours by Professional
                                         October 1, 2023 - December 31, 2023
Name                  Position                                                                    Hours
Sean Costello         Managing Director, Mobility and Technology                                        6.5
Jeffrey Finger        Managing Director, Co-Head of US Debt Advisory and Restructuring                 23.0
Ryan Hamilton         Senior Vice President, Debt Advisory and Restructuring                           34.5
Kevin Lisanti         Vice President, Debt Advisory and Restructuring                                  37.5
Kelly Pasekoff        Vice President, Mobility and Technology                                           6.5
Lars Hultgren         Analyst, Debt Advisory and Restructuring                                         71.0
Total                                                                                                 179.0




                                                         iii
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        SECOND INTERIM FEE APPLICATION OF JEFFERIES LLC
AS INVESTMENT BANKER FOR THE DEBTORS AND DEBTORS IN POSSESSION

                            EXPENSES BY CATEGORY
                         October 1, 2023 – December 31, 2023


                                         Jefferies LLC
                               Summary of Expenses by Category
                                October 1 - December 31, 2023
Category                                                                    Expenses
Employee Overtime Meal                                                               $260.93
Non-Employee Meal                                                                    $110.00
Transportation                                                                        $76.14
Legal Fees                                                                        $22,239.00
Total                                                                             $22,686.07




                                             iv
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re                                                                 Chapter 11

    Lordstown Motors Corp., et al.,1                                      Case No. 23-10831 (MFW)

                     Debtors.                                             (Jointly Administered)
                                                                          Obj. Deadline: Mar. 7, 2024 at 4:00 pm (ET)
                                                                          Hearing Date: Mar. 14, 2024 at 3:00 pm (ET)

       SECOND INTERIM FEE APPLICATION OF JEFFERIES LLC AS
INVESTMENT BANKER FOR THE DEBTORS AND DEBTORS IN POSSESSION FOR
     COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
    REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD FROM
        OCTOBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

            Jefferies LLC (“Jefferies”), the investment banker for the above captioned debtors and

debtors in possession (collectively, the “Debtors”), hereby files this second interim fee

application (this “Interim Fee Application”), pursuant to sections 328, 330 and 331 of title 11

of the United States Code (the “Bankruptcy Code”), rule 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), rule 2016-2 of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware (the

“Local Rules”), and the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Chapter 11 Professionals and Committee Members [Docket No.

181] (the “Interim Compensation Order”), requesting (a) interim allowance of compensation

for professional services to the Debtors during the period from October 1, 2023 to and including

December 31, 2023 (the “Interim Compensation Period”) in the amount of $2,200,000.00, (b)

interim allowance of Jefferies’ expenses incurred during the Interim Compensation Period in


1
  The Debtors in these chapter 11 cases (these “Chapter 11 Cases”), along with the last four digits of their respective
taxpayer identification numbers are: Lordstown Motors Corp. (3239); Lordstown EV Corporation (2250); and
Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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connection with such services in the amount of $22,686.07, and (c) payment of all such allowed

expenses, less any amounts previously paid for such expenses. In support of this Interim Fee

Application, Jefferies respectfully states as follows:

                                  JURISDICTION AND VENUE

       1.      The United States Bankruptcy Court for the District of Delaware (this “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the Amended Standing Order

of Reference from the United States District Court for the District of Delaware dated as of

February 29, 2012. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue

is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.      The statutory and other bases for the relief requested in this Monthly Fee

Application are sections 328(a), 330 and 331 of the Bankruptcy Code, Bankruptcy Rule 2016,

Local Rule 2016-2, the Interim Compensation Order, and the Retention Order (as defined below).

                                         BACKGROUND

       3.      On June 27, 2023 (the “Petition Date”), each of the Debtors filed with this Court

a voluntary petition for relief under the Bankruptcy Code. Each Debtor continues to operate its

business and manage its properties as a debtor-in-possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code. The Court entered an order on June 28, 2023 authorizing joint

administration of these chapter 11 cases [Docket No. 53].

       4.      On July 6, 2023, the Debtors filed an application to retain and employ Jefferies as

their investment banker [Docket No. 88] (the “Retention Application”), effective as of the

Petition Date, pursuant to the terms of that certain engagement letter between Jefferies and the




                                                 2
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Debtors, dated as of June 26, 2023, (together with the Annex and the Indemnification Provisions

attached thereto, the “Engagement Letter”).2

         5.       On July 25, 2023, the Court entered the order approving the Retention Application

[Docket No. 188] (the “Retention Order”). A copy of the Engagement Letter was appended to

the Retention Order as Exhibit 1.

         6.       Also on July 25, 2023, the Court entered the Interim Compensation Order, which

generally sets forth the procedures for interim compensation and expense reimbursement for

retained professionals in the Debtors’ chapter 11 cases

         7.       On November 14, 2023, Jefferies filed the (i) First Consolidated Monthly

Application of Jefferies LLC for Compensation for Services Rendered and Reimbursement of

Expenses Incurred as Investment Banker to the Debtors and Debtors in Possession for the Period

of June 27, 2023 to and Including September 30, 2023 (“First Consolidated Monthly Fee

Application”) and (ii) First Interim Fee Application of Jefferies LLC as Investment Banker for

the Debtors and Debtors in Possession for Compensation for Professional Services Rendered and

Reimbursement of Expenses Incurred for the Period from June 27, 2023 to and Including

September 30, 2023 (“First Interim Fee Application”), in accordance with the Interim

Compensation Order.            The objection deadlines for the First Consolidated Monthly Fee

Application and First Interim Fee Application ran on December 4, 2023. On December 14, 2023,

the Court entered the First Omnibus Order Awarding Interim Allowance of Compensation for

Services Rendered and for Reimbursement of Expenses [Docket No. 821] approving the fees and

expenses requested in the First Interim Fee Application.



2
  Unless otherwise stated, all capitalized terms used but not otherwise defined herein shall have the meanings ascribed
to such terms in the Engagement Letter.



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        8.       On January 2, 2024, Jefferies filed the Second Monthly Application of Jefferies

LLC for Allowance of Compensation for Services Rendered and Reimbursement of Expenses

Incurred as Investment Banker to the Debtors and Debtors in Possession for the Period from

October 1, 2023 to and Including October 31, 2023 (“Second Monthly Fee Application”). On

January 22, 2024, the objection deadline for the Second Monthly Fee Application ran, and the

Debtors filed a certificate of no objection on January 24, 2024 [Docket No. 932].

                                          RELIEF REQUESTED

        9.       By this Interim Fee Application, Jefferies requests (a) interim allowance of

compensation for professional services to the Debtors during the Interim Compensation Period in

the amount of $2,200,000.00, (b) interim allowance of Jefferies’ expenses incurred during the

Interim Compensation Period in connection with such services in the amount of $22,686.07, and

(c) payment of all such allowed expenses, less any amounts previously paid for such expenses.

        10.      With respect to the M&A Transaction Fee, Jefferies earned a $3,000,000.00 M&A

Transaction Fee on account of the M&A Transaction approved pursuant to the Sale Order.

Pursuant to the Retention Order and Engagement letter, Monthly Fees are credited against the

M&A Transaction Fee. To date, five full Monthly Fees have been paid to Jefferies for the months

of June, July, August, September and October 2023. After crediting of these five Monthly Fees,

the net M&A Transaction Fee is $2,000,000.00 ($3,000,000.00 – $1,000,000.00 =

$2,000,000.00).

        11.      As noted above, Jefferies earned one Monthly Fee in the amount of $200,000.00

for the month of October 2023.3 The Retention Order permits the Debtors to pay Jefferies’



3
 Jefferies is not seeking payment for the November and December 2023 Monthly Fees that became payable to
Jefferies during the Interim Compensation Period. Pursuant to the Engagement Letter and Retention Order, payment
of these Monthly Fees would be credited against the M&A Transaction Fee.


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Monthly Fees each month when required under the Engagement Letter without the need to file a

prior fee application, subject to review and approval in any interim and final fee applications.

Accordingly, Jefferies is hereby seeking allowance of the October Monthly Fee pursuant to the

Retention Order and the Interim Compensation Order.

                                  SUMMARY OF SERVICES

       12.     Although Jefferies, in line with market convention, does not bill by the hour,

Jefferies has kept track of its post-petition time in one-half hour increments in accordance with

the Retention Order. Such time records are attached hereto as Exhibit A. During the Interim

Compensation Period, Jefferies professionals spent approximately 179 hours providing

investment banking services to the Debtors.

       13.     The fees charged by Jefferies have been billed in accordance with the Engagement

Letter and the Retention Order and are comparable to those fees charged by Jefferies for

professional services rendered in connection with similar chapter 11 cases and non-bankruptcy

matters. Jefferies submits that such fees are reasonable based upon the customary compensation

charged by similarly skilled practitioners in comparable bankruptcy cases and non-bankruptcy

matters in the competitive national investment banking market.

       14.     There is no agreement or understanding between Jefferies and any other person,

other than members of the firm, for the sharing of compensation to be received for services

rendered in these chapter 11 cases.

                           ACTUAL AND NECESSARY EXPENSES

       15.     Jefferies also incurred certain necessary expenses during the Interim

Compensation Period for which it is entitled to reimbursement under the Engagement Letter. As

set forth in the Second Consolidated Monthly Fee Application, Jefferies’ expenses incurred




                                                5
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during the Interim Compensation Period in connection with its services to the Debtors are

$22,686.07.4 The detail for such expenses is set forth on Exhibit B to the Second Consolidated

Monthly Fee Application.

                                 CERTIFICATION OF COMPLIANCE

         16.      The undersigned has reviewed the requirements of Local Rule 2016-2 and certifies

that, to the best of his knowledge, information and belief, this Interim Fee Application complies

with that rule.

         WHEREFORE, Jefferies hereby files this Interim Fee Application requesting (a) interim

allowance of compensation for professional services to the Debtors during the Interim

Compensation Period in the amount of $2,200,000.00, (b) interim allowance of Jefferies’

expenses incurred during the Interim Compensation Period in connection with such services in

the amount of $22,686.07 and (c) payment of all such allowed expenses, less any amounts

previously paid for such expenses.



    Dated: February 14, 2024                                   JEFFERIES LLC
    New York, New York                                         /s/ Jeffrey Finger
                                                               Jeffrey Finger
                                                               Managing Director
                                                               Jefferies LLC




4
 Additionally, as set forth in the Retention Application, Jefferies received a $25,000.00 expense advance from the
Debtors prior to the Petition Date. After the application of prepetition expenses, $6,463.00 remains to be applied
against the postpetition expenses set forth herein.


                                                        6
